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                                                                             #:1633
                                                                            #: 817
     Fire and Ice Trucking Corp
     540 Osborn Street
     Apt 1D
     Brooklyn, NY 11212
     347-452-4157




               Demitrus G Cooper
               1040 Barbey St, #1F
               Brooklyn, NY 11207




Employee Pay Stub                          Check number: 21825                             Pay Period: 09/19/2020 - 09/25/2020         Pay Date: 09/25/2020

Employee                                                                                   SSN
Demitrus G Cooper, 1040 Barbey St, #1F, Brooklyn, NY 11207                                 ***-**-6769



Earnings and Hours                   Qty        Rate        Current      YTD Amount
Hourly Wages                       40:00        21.25        850.00             850.00

Taxes                                                       Current      YTD Amount
NY - Paid Family Leave                                         -2.30             -2.30
NY - City Resident                                            -27.06            -27.06
Medicare Employee Addl Tax                                      0.00              0.00
Federal Withholding                                           -80.00            -80.00
Social Security Employee                                      -52.70            -52.70
Medicare Employee                                             -12.33            -12.33
NY - Withholding                                              -36.90            -36.90
NY - Disability Employee                                       -0.60             -0.60
                                                             -211.89           -211.89

Net Pay                                                      638.11             638.11




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
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                                                                             #:1634
                                                                            #: 818
     Fire and Ice Trucking Corp
     540 Osborn Street
     Apt 1D
     Brooklyn, NY 11212
     347-452-4157




               Demitrus G Cooper
               1040 Barbey St, #1F
               Brooklyn, NY 11207




Employee Pay Stub                          Check number: 21928                             Pay Period: 09/26/2020 - 10/02/2020         Pay Date: 10/02/2020

Employee                                                                                   SSN
Demitrus G Cooper, 1040 Barbey St, #1F, Brooklyn, NY 11207                                 ***-**-6769



Earnings and Hours                   Qty        Rate        Current      YTD Amount
Hourly Wages                       32:00        21.25        680.00           1,530.00

Taxes                                                       Current      YTD Amount
NY - Paid Family Leave                                         -1.84             -4.14
NY - City Resident                                            -19.67            -46.73
Medicare Employee Addl Tax                                      0.00              0.00
Federal Withholding                                           -59.00           -139.00
Social Security Employee                                      -42.16            -94.86
Medicare Employee                                             -12.33            -24.66
NY - Withholding                                              -26.55            -63.45
NY - Disability Employee                                       -0.60             -1.20
                                                             -162.15           -374.04

Net Pay                                                      517.85           1,155.96




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
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                                                                             #:1635
                                                                            #: 819
     Fire and Ice Trucking Corp
     540 Osborn Street
     Apt 1D
     Brooklyn, NY 11212
     347-452-4157




               Demitrus G Cooper
               1040 Barbey St, #1F
               Brooklyn, NY 11207




Employee Pay Stub                          Check number: 22122                             Pay Period: 10/03/2020 - 10/09/2020         Pay Date: 10/09/2020

Employee                                                                                   SSN
Demitrus G Cooper, 1040 Barbey St, #1F, Brooklyn, NY 11207                                 ***-**-6769



Earnings and Hours                   Qty        Rate        Current      YTD Amount
Hourly Wages                       40:00        21.25        850.00           2,380.00

Taxes                                                       Current      YTD Amount
NY - Paid Family Leave                                         -2.30             -6.44
NY - City Resident                                            -25.39            -72.12
Medicare Employee Addl Tax                                      0.00              0.00
Federal Withholding                                           -70.00           -209.00
Social Security Employee                                      -52.70           -147.56
Medicare Employee                                             -12.32            -36.98
NY - Withholding                                              -34.57            -98.02
NY - Disability Employee                                       -0.60             -1.80
                                                             -197.88           -571.92

Net Pay                                                      652.12           1,808.08




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
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                                                                             #:1636
                                                                            #: 820
     Fire and Ice Trucking Corp
     540 Osborn Street
     Apt 1D
     Brooklyn, NY 11212
     347-452-4157




               Demitrus G Cooper
               1040 Barbey St, #1F
               Brooklyn, NY 11207




Employee Pay Stub                          Check number: 22113                             Pay Period: 10/10/2020 - 10/16/2020         Pay Date: 10/16/2020

Employee                                                                                   SSN
Demitrus G Cooper, 1040 Barbey St, #1F, Brooklyn, NY 11207                                 ***-**-6769



Earnings and Hours                   Qty        Rate        Current      YTD Amount
Hourly Wages                       40:00        21.25        850.00           3,230.00

Taxes                                                       Current      YTD Amount
NY - Paid Family Leave                                         -2.30             -8.74
NY - City Resident                                            -25.39            -97.51
Medicare Employee Addl Tax                                      0.00              0.00
Federal Withholding                                           -70.00           -279.00
Social Security Employee                                      -52.70           -200.26
Medicare Employee                                             -12.33            -49.31
NY - Withholding                                              -34.56           -132.58
NY - Disability Employee                                       -0.60             -2.40
                                                             -197.88           -769.80

Net Pay                                                      652.12           2,460.20




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
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                                                                             #:1637
                                                                            #: 821
     Fire and Ice Trucking Corp
     540 Osborn Street
     Apt 1D
     Brooklyn, NY 11212
     347-452-4157




               Demitrus G Cooper
               1040 Barbey St, #1F
               Brooklyn, NY 11207




Employee Pay Stub                          Check number: 22241                             Pay Period: 10/17/2020 - 10/23/2020         Pay Date: 10/23/2020

Employee                                                                                   SSN
Demitrus G Cooper, 1040 Barbey St, #1F, Brooklyn, NY 11207                                 ***-**-6769



Earnings and Hours                   Qty        Rate        Current      YTD Amount
Hourly Wages                       40:00        21.25        850.00           4,080.00

Taxes                                                       Current      YTD Amount
NY - Paid Family Leave                                         -2.30            -11.04
NY - City Resident                                            -25.39           -122.90
Medicare Employee Addl Tax                                      0.00              0.00
Federal Withholding                                           -72.48           -351.48
Social Security Employee                                      -52.70           -252.96
Medicare Employee                                              -9.85            -59.16
NY - Withholding                                              -34.56           -167.14
NY - Disability Employee                                       -0.60             -3.00
                                                             -197.88           -967.68

Net Pay                                                      652.12           3,112.32




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
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                                                                            #: 822
     Fire and Ice Trucking Corp
     540 Osborn Street
     Apt 1D
     Brooklyn, NY 11212
     347-452-4157




               Demitrus G Cooper
               1040 Barbey St, #1F
               Brooklyn, NY 11207




Employee Pay Stub                          Check number: 22358                             Pay Period: 10/24/2020 - 10/30/2020         Pay Date: 10/30/2020

Employee                                                                                   SSN
Demitrus G Cooper, 1040 Barbey St, #1F, Brooklyn, NY 11207                                 ***-**-6769



Earnings and Hours                   Qty        Rate        Current      YTD Amount
Hourly Wages                       40:00        21.25        850.00           4,930.00

Taxes                                                       Current      YTD Amount
NY - Paid Family Leave                                         -2.30            -13.34
NY - City Resident                                            -25.39           -148.29
Medicare Employee Addl Tax                                      0.00              0.00
Federal Withholding                                           -70.00           -421.48
Social Security Employee                                      -52.70           -305.66
Medicare Employee                                             -12.33            -71.49
NY - Withholding                                              -34.56           -201.70
NY - Disability Employee                                       -0.60             -3.60
                                                             -197.88         -1,165.56

Net Pay                                                      652.12           3,764.44




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
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                                                                             #:1639
                                                                            #: 823
     Fire and Ice Trucking Corp
     540 Osborn Street
     Apt 1D
     Brooklyn, NY 11212
     347-452-4157




               Demitrus G Cooper
               1040 Barbey St, #1F
               Brooklyn, NY 11207




Employee Pay Stub                          Check number: 22367                             Pay Period: 10/31/2020 - 11/06/2020         Pay Date: 11/06/2020

Employee                                                                                   SSN
Demitrus G Cooper, 1040 Barbey St, #1F, Brooklyn, NY 11207                                 ***-**-6769



Earnings and Hours                   Qty        Rate        Current      YTD Amount
Hourly Wages                       32:00        21.25        680.00           5,610.00

Taxes                                                       Current      YTD Amount
NY - Paid Family Leave                                         -1.84            -15.18
NY - City Resident                                            -19.67           -167.96
Medicare Employee Addl Tax                                      0.00              0.00
Federal Withholding                                           -59.00           -480.48
Social Security Employee                                      -42.16           -347.82
Medicare Employee                                              -9.86            -81.35
NY - Withholding                                              -26.55           -228.25
NY - Disability Employee                                       -0.60             -4.20
                                                             -159.68         -1,325.24

Net Pay                                                      520.32           4,284.76




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
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                                                                            #: 824
     Fire and Ice Trucking Corp
     540 Osborn Street
     Apt 1D
     Brooklyn, NY 11212
     347-452-4157




               Demitrus G Cooper
               1040 Barbey St, #1F
               Brooklyn, NY 11207




Employee Pay Stub                          Check number: 22630                             Pay Period: 11/07/2020 - 11/13/2020         Pay Date: 11/13/2020

Employee                                                                                   SSN
Demitrus G Cooper, 1040 Barbey St, #1F, Brooklyn, NY 11207                                 ***-**-6769



Earnings and Hours                   Qty        Rate        Current      YTD Amount
Hourly Wages                       40:00        21.25        850.00           6,460.00

Taxes                                                       Current      YTD Amount
NY - Paid Family Leave                                         -2.30            -17.48
NY - City Resident                                            -25.39           -193.35
Medicare Employee Addl Tax                                      0.00              0.00
Federal Withholding                                           -70.00           -550.48
Social Security Employee                                      -52.70           -400.52
Medicare Employee                                             -12.32            -93.67
NY - Withholding                                              -34.56           -262.81
NY - Disability Employee                                       -0.60             -4.80
                                                             -197.87         -1,523.11
Adjustments to Net Pay                                      Current      YTD Amount
Ticket Reimbursement                                          -50.00            -50.00
Toll Reimbursement                                            -19.00            -19.00
                                                              -69.00            -69.00

Net Pay                                                      583.13           4,867.89




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
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                                                                            #: 825
     Fire and Ice Trucking Corp
     540 Osborn Street
     Apt 1D
     Brooklyn, NY 11212
     347-452-4157




               Demitrus G Cooper
               1040 Barbey St, #1F
               Brooklyn, NY 11207




Employee Pay Stub                          Check number: 22713                             Pay Period: 11/14/2020 - 11/20/2020         Pay Date: 11/20/2020

Employee                                                                                   SSN
Demitrus G Cooper, 1040 Barbey St, #1F, Brooklyn, NY 11207                                 ***-**-6769



Earnings and Hours                   Qty        Rate        Current      YTD Amount
Hourly Wages                       40:00        21.25        850.00           7,310.00

Taxes                                                       Current      YTD Amount
NY - Paid Family Leave                                         -2.30            -19.78
NY - City Resident                                            -25.39           -218.74
Medicare Employee Addl Tax                                      0.00              0.00
Federal Withholding                                           -70.00           -620.48
Social Security Employee                                      -52.70           -453.22
Medicare Employee                                             -12.33           -106.00
NY - Withholding                                              -34.56           -297.37
NY - Disability Employee                                       -0.60             -5.40
                                                             -197.88         -1,720.99
Adjustments to Net Pay                                      Current      YTD Amount
Ticket Reimbursement                                                            -50.00
Toll Reimbursement                                                              -19.00
                                                                                -69.00

Net Pay                                                      652.12           5,520.01




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
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                                                                             #: 826
     Fire and Ice Trucking Corp
     540 Osborn Street
     Apt 1D
     Brooklyn, NY 11212
     347-452-4157




               Demitrus G Cooper
               1040 Barbey St, #1F
               Brooklyn, NY 11207




Employee Pay Stub                          Check number: 22827                             Pay Period: 11/21/2020 - 11/27/2020          Pay Date: 11/27/2020

Employee                                                                                   SSN
Demitrus G Cooper, 1040 Barbey St, #1F, Brooklyn, NY 11207                                 ***-**-6769



Earnings and Hours                   Qty        Rate        Current      YTD Amount
Hourly Wages                       32:00        21.25        680.00           7,990.00

Taxes                                                       Current      YTD Amount
NY - Paid Family Leave                                         -1.84            -21.62
NY - City Resident                                            -17.99           -236.73
Medicare Employee Addl Tax                                      0.00              0.00
Federal Withholding                                           -49.00           -669.48
Social Security Employee                                      -42.16           -495.38
Medicare Employee                                              -9.86           -115.86
NY - Withholding                                              -24.21           -321.58
NY - Disability Employee                                       -0.60             -6.00
                                                             -145.66         -1,866.65
Adjustments to Net Pay                                      Current      YTD Amount
Ticket Reimbursement                                                            -50.00
Toll Reimbursement                                                              -19.00
                                                                                -69.00

Net Pay                                                      534.34           6,054.35




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
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                                                                             #: 827
     Fire and Ice Trucking Corp
     540 Osborn Street
     Apt 1D
     Brooklyn, NY 11212
     347-452-4157




               Demitrus G Cooper
               1040 Barbey St, #1F
               Brooklyn, NY 11207




Employee Pay Stub                          Check number: 22922                             Pay Period: 11/28/2020 - 12/04/2020          Pay Date: 12/04/2020

Employee                                                                                   SSN
Demitrus G Cooper, 1040 Barbey St, #1F, Brooklyn, NY 11207                                 ***-**-6769



Earnings and Hours                   Qty        Rate        Current      YTD Amount
Hourly Wages                       40:00        21.25        850.00           8,840.00

Taxes                                                       Current      YTD Amount
NY - Paid Family Leave                                         -2.30            -23.92
NY - City Resident                                            -25.39           -262.12
Medicare Employee Addl Tax                                      0.00              0.00
Federal Withholding                                           -70.00           -739.48
Social Security Employee                                      -52.70           -548.08
Medicare Employee                                             -12.32           -128.18
NY - Withholding                                              -34.57           -356.15
NY - Disability Employee                                       -0.60             -6.60
                                                             -197.88         -2,064.53
Adjustments to Net Pay                                      Current      YTD Amount
Ticket Reimbursement                                                            -50.00
Toll Reimbursement                                                              -19.00
                                                                                -69.00

Net Pay                                                      652.12           6,706.47




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
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                                                                               #: 828
     Fire and Ice Trucking Corp
     540 Osborn Street
     Apt 1D
     Brooklyn, NY 11212
     347-452-4157




               Demitrus G Cooper
               1040 Barbey St, #1F
               Brooklyn, NY 11207




Employee Pay Stub                          Check number: 7538                              Pay Period: 12/05/2020 - 12/11/2020          Pay Date: 12/11/2020

Employee                                                                                   SSN
Demitrus G Cooper, 1040 Barbey St, #1F, Brooklyn, NY 11207                                 ***-**-6769



Earnings and Hours                   Qty        Rate        Current       YTD Amount
Hourly Wages                       40:00        21.25        850.00           9,690.00

Taxes                                                       Current       YTD Amount
NY - Paid Family Leave                                           -2.30          -26.22
NY - City Resident                                              -25.39         -287.51
Medicare Employee Addl Tax                                        0.00            0.00
Federal Withholding                                             -70.00         -809.48
Social Security Employee                                        -52.70         -600.78
Medicare Employee                                               -12.33         -140.51
NY - Withholding                                                -34.56         -390.71
NY - Disability Employee                                         -0.60           -7.20
                                                             -197.88         -2,262.41
Adjustments to Net Pay                                      Current       YTD Amount
Ticket Reimbursement                                                            -50.00
Toll Reimbursement                                                              -19.00
                                                                                -69.00

Net Pay                                                         652.12        7,358.59




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
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                                                                             #: 829
     Fire and Ice Trucking Corp
     540 Osborn Street
     Apt 1D
     Brooklyn, NY 11212
     347-452-4157




               Demitrus G Cooper
               1040 Barbey St, #1F
               Brooklyn, NY 11207




Employee Pay Stub                          Check number: 23782                             Pay Period: 12/12/2020 - 12/18/2020          Pay Date: 12/18/2020

Employee                                                                                   SSN
Demitrus G Cooper, 1040 Barbey St, #1F, Brooklyn, NY 11207                                 ***-**-6769



Earnings and Hours                   Qty        Rate        Current      YTD Amount
Hourly Wages                       40:00        21.25        850.00          10,540.00

Taxes                                                       Current      YTD Amount
NY - Paid Family Leave                                         -2.30            -28.52
NY - City Resident                                            -25.39           -312.90
Medicare Employee Addl Tax                                      0.00              0.00
Federal Withholding                                           -70.00           -879.48
Social Security Employee                                      -52.70           -653.48
Medicare Employee                                             -12.32           -152.83
NY - Withholding                                              -34.57           -425.28
NY - Disability Employee                                       -0.60             -7.80
                                                             -197.88         -2,460.29
Adjustments to Net Pay                                      Current      YTD Amount
Ticket Reimbursement                                                            -50.00
Toll Reimbursement                                                              -19.00
                                                                                -69.00

Net Pay                                                      652.12           8,010.71




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
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                                                                             #: 830
     Fire and Ice Trucking Corp
     540 Osborn Street
     Apt 1D
     Brooklyn, NY 11212
     347-452-4157




               Demitrus G Cooper
               1040 Barbey St, #1F
               Brooklyn, NY 11207




Employee Pay Stub                          Check number: 23901                             Pay Period: 12/19/2020 - 12/25/2020           Pay Date: 12/24/2020

Employee                                                                                   SSN
Demitrus G Cooper, 1040 Barbey St, #1F, Brooklyn, NY 11207                                 ***-**-6769



Earnings and Hours                   Qty        Rate        Current      YTD Amount        Sick Time                                Accrued         Used        Available
Hourly Wages                       32:00        21.25        680.00          11,220.00     Current                                     0:00          8:00           -8:00
Holiday/Sick Pay                    8:00        21.25        170.00             170.00     YTD                                         0:00
                                   40:00                     850.00          11,390.00
Taxes                                                       Current      YTD Amount
NY - Paid Family Leave                                         -2.30            -30.82
NY - City Resident                                            -25.39           -338.29
Medicare Employee Addl Tax                                      0.00              0.00
Federal Withholding                                           -70.00           -949.48
Social Security Employee                                      -52.70           -706.18
Medicare Employee                                             -12.33           -165.16
NY - Withholding                                              -34.56           -459.84
NY - Disability Employee                                       -0.60             -8.40
                                                             -197.88         -2,658.17
Adjustments to Net Pay                                      Current      YTD Amount
Ticket Reimbursement                                                            -50.00
Toll Reimbursement                                                              -19.00
                                                                                -69.00

Net Pay                                                      652.12           8,662.83




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
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     Fire and Ice Trucking Corp
     540 Osborn Street
     Apt 1D
     Brooklyn, NY 11212
     347-452-4157




               Demitrus G Cooper
               1040 Barbey St, #1F
               Brooklyn, NY 11207




Employee Pay Stub                          Check number: 23991                             Pay Period: 12/25/2020 - 12/31/2020           Pay Date: 12/31/2020

Employee                                                                                   SSN
Demitrus G Cooper, 1040 Barbey St, #1F, Brooklyn, NY 11207                                 ***-**-6769



Earnings and Hours                   Qty        Rate        Current      YTD Amount        Sick Time                                Accrued         Used        Available
Hourly Wages                       32:00        21.25        680.00          11,900.00     Current                                     0:00          0:00           -8:00
Holiday/Sick Pay                                                                170.00     YTD                                         0:00
                                   32:00                     680.00          12,070.00
Taxes                                                       Current      YTD Amount
NY - Paid Family Leave                                         -3.24            -34.06
NY - City Resident                                            -17.99           -356.28
Medicare Employee Addl Tax                                      0.00              0.00
Federal Withholding                                           -47.60           -997.08
Social Security Employee                                      -42.16           -748.34
Medicare Employee                                              -9.86           -175.02
NY - Withholding                                              -24.21           -484.05
NY - Disability Employee                                       -0.60             -9.00
                                                             -145.66         -2,803.83
Adjustments to Net Pay                                      Current      YTD Amount
Ticket Reimbursement                                                            -50.00
Toll Reimbursement                                                              -19.00
                                                                                -69.00

Net Pay                                                      534.34           9,197.17




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
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                                                                               #:1648
                                                                               #: 832
     Fire and Ice Trucking Corp
     540 Osborn Street
     Apt 1D
     Brooklyn, NY 11212
     347-452-4157




               Demitrus G Cooper
               1040 Barbey St, #1F
               Brooklyn, NY 11207




Employee Pay Stub                          Check number: 1003                              Pay Period: 01/02/2021 - 01/08/2021           Pay Date: 01/08/2021

Employee                                                                                   SSN
Demitrus G Cooper, 1040 Barbey St, #1F, Brooklyn, NY 11207                                 ***-**-6769



Earnings and Hours                   Qty        Rate        Current       YTD Amount       Sick Time                                Accrued         Used        Available
Hourly Wages                       40:00        21.25        850.00             850.00     Current                                     0:00          0:00           -8:00
                                                                                           YTD                                         0:00
Taxes                                                       Current       YTD Amount
NY - Paid Family Leave                                           -4.34           -4.34
NY - City Resident                                              -25.39          -25.39
Medicare Employee Addl Tax                                        0.00            0.00
Federal Withholding                                             -69.00          -69.00
Social Security Employee                                        -52.70          -52.70
Medicare Employee                                               -12.33          -12.33
NY - Withholding                                                -34.56          -34.56
NY - Disability Employee                                         -0.60           -0.60
                                                             -198.92           -198.92

Net Pay                                                         651.08          651.08




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
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                                                                               #:1649
                                                                               #: 833
     Fire and Ice Trucking Corp
     540 Osborn Street
     Apt 1D
     Brooklyn, NY 11212
     347-452-4157




               Demitrus G Cooper
               1040 Barbey St, #1F
               Brooklyn, NY 11207




Employee Pay Stub                          Check number: 1015                              Pay Period: 01/09/2021 - 01/15/2021           Pay Date: 01/15/2021

Employee                                                                                   SSN
Demitrus G Cooper, 1040 Barbey St, #1F, Brooklyn, NY 11207                                 ***-**-6769



Earnings and Hours                   Qty        Rate        Current       YTD Amount       Sick Time                                Accrued         Used        Available
Hourly Wages                       40:00        21.25        850.00           1,700.00     Current                                     0:00          0:00           -8:00
                                                                                           YTD                                         0:00
Taxes                                                       Current       YTD Amount
NY - Paid Family Leave                                           -4.34           -8.68
NY - City Resident                                              -25.39          -50.78
Medicare Employee Addl Tax                                        0.00            0.00
Federal Withholding                                             -69.00         -138.00
Social Security Employee                                        -52.70         -105.40
Medicare Employee                                               -12.32          -24.65
NY - Withholding                                                -34.56          -69.12
NY - Disability Employee                                         -0.60           -1.20
                                                             -198.91           -397.83

Net Pay                                                         651.09        1,302.17




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
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                                                                               #:1650
                                                                               #: 834
     Fire and Ice Trucking Corp
     540 Osborn Street
     Apt 1D
     Brooklyn, NY 11212
     347-452-4157




               Demitrus G Cooper
               1040 Barbey St, #1F
               Brooklyn, NY 11207




Employee Pay Stub                          Check number: 1025                              Pay Period: 01/16/2021 - 01/22/2021           Pay Date: 01/22/2021

Employee                                                                                   SSN
Demitrus G Cooper, 1040 Barbey St, #1F, Brooklyn, NY 11207                                 ***-**-6769



Earnings and Hours                   Qty        Rate        Current       YTD Amount       Sick Time                                Accrued         Used        Available
Hourly Wages                       32:00        21.25        680.00           2,380.00     Current                                     0:00          0:00           -8:00
                                                                                           YTD                                         0:00
Taxes                                                       Current       YTD Amount
NY - Paid Family Leave                                           -3.47          -12.15
NY - City Resident                                              -17.99          -68.77
Medicare Employee Addl Tax                                        0.00            0.00
Federal Withholding                                             -49.00         -187.00
Social Security Employee                                        -42.16         -147.56
Medicare Employee                                                -9.86          -34.51
NY - Withholding                                                -24.21          -93.33
NY - Disability Employee                                         -0.60           -1.80
                                                             -147.29           -545.12

Net Pay                                                         532.71        1,834.88




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
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                                                                               #:1651
                                                                               #: 835
     Fire and Ice Trucking Corp
     540 Osborn Street
     Apt 1D
     Brooklyn, NY 11212
     347-452-4157




               Demitrus G Cooper
               1040 Barbey St, #1F
               Brooklyn, NY 11207




Employee Pay Stub                          Check number: 1035                              Pay Period: 01/23/2021 - 01/29/2021           Pay Date: 01/29/2021

Employee                                                                                   SSN
Demitrus G Cooper, 1040 Barbey St, #1F, Brooklyn, NY 11207                                 ***-**-6769



Earnings and Hours                   Qty        Rate        Current       YTD Amount       Sick Time                                Accrued         Used        Available
Hourly Wages                       40:00        21.25        850.00           3,230.00     Current                                     0:00          0:00           -8:00
                                                                                           YTD                                         0:00
Taxes                                                       Current       YTD Amount
NY - Paid Family Leave                                           -4.34          -16.49
NY - City Resident                                              -25.39          -94.16
Medicare Employee Addl Tax                                        0.00            0.00
Federal Withholding                                             -69.00         -256.00
Social Security Employee                                        -52.70         -200.26
Medicare Employee                                               -12.33          -46.84
NY - Withholding                                                -34.56         -127.89
NY - Disability Employee                                         -0.60           -2.40
                                                             -198.92           -744.04

Net Pay                                                         651.08        2,485.96




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
